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                                                                             United States Bankruptcy Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                         October 25, 2023
                     FOR THE SOUTHERN DISTRICT OF TEXAS                          Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                              §
                                    §                CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                CHAPTER 7
                                    §
       Debtor.                      §
                                    §
JOHN QUINLAN,                       §
OMAR KHAWAJA,                       §
OSAMA ABDULLATIF,                   §
                                    §
VS.                                 §                ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, TEXAS REIT LLC, §
DALIO HOLDINGS I, LLC, DALIO        §
HOLDINGS II, LLC, HOUSTON REAL      §
ESTATE PROPERTIES, LLC, SHAHNAZ §
CHOUDHRI, ALI CHOUDHRI,             §
SHEPHERD-HULDY DEVELOPMENT I, §
LLC, SHEPHERD-HULDY                 §
DEVELOPMENT II, LLC, GALLERIA       §
LOOP NOTE HOLDER LLC, A. KELLY §
WILLIAMS, MAGNOLIA BRIDGECO,        §
LLC, CYPRESS BRIDGECO, LLC,         §
MOUNTAIN BUSINESS CENTER, LLC, §
AND RANDY W WILLIAMS CH7            §
TRUSTEE,                            §
                                    §
       Defendants.                  §

                      ORDER DENYING MOTION TO EXPUNGE

       Before the Court is the Motion to Expunge Notices of Lis Pendens and Supplemental

Notices of Lis Pendens (ECF No. 58) filed by some of the Defendants, Arabella PH 3201 LLC,

9201 Memorial Dr. LLC, 2727 Kirby 26L LLC, Texas REIT LLC, Ali Choudhri, and Shepherd-

Huldy Development I, LLC (collectively “Defendants” or “Movants”), and the Response filed by


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John Quinlan, Omar Khawaja and Osama Abdullatif (collectively “Plaintiffs” or “Respondents”)

(ECF No. 92). The Movants are seeking the expungement of a notice of lis pendens filed in the

real property records by the Plaintiffs, against multiple real properties1 on July 31, 2023 and

supplemental notices of lis pendens on the same real properties on August 23, 2023.

                                                 FACTS

        One of the defendants, Houston Real Estate Property LLC, filed a voluntary bankruptcy

petition under chapter 11 on October 7, 2022. The bankruptcy case was converted to a Chapter 7

case on March 8, 2023, and a Chapter 7 Trustee was appointed on March 9, 2023. The Plaintiffs

filed this adversary on August 1, 2023,2 and a Supplemental Complaint on August 30, 2023.3 The

Plaintiffs allege that Ali Choudhri has created various business entities to hide assets, and to

fraudulently transfer various real properties, including those on which the lis pendens was filed.

Plaintiffs argue that Defendants have fraudulently transferred real property by concealment and by

transferring real property amongst themselves for less than a reasonably equivalent value in order

to devalue their assets. Amongst other relief, Plaintiffs seek a judgment for avoidance of the

transfers, an injunction against further transfer of the assets, and a constructive trust for the assets

fraudulently transferred.




1
  4521 San Felipe No. 3201, Houston, Texas 77027 – Arabella PH 3201, LLC • 4401 Schurmier Rd, Houston, Texas
77048 – Memorial Glen Cove, LLC • 3550 Charleston St, Houston, Texas 77021 – Memorial Glen Cove, LLC •
2503 S. Shepard Dr, Houston, Texas 77019 - Shepherd-Huldy Development I, LLC • 2421 S. Shepard Dr, Houston,
Texas 77019 - Shepherd-Huldy Development I, LLC • 2419 S. Shepard Dr, Houston, Texas 77019 - Shepherd-
Huldy Development I, LLC • 2502 Huldy St, Houston, Texas 77019 - Shepherd-Huldy Development I, LLC • 2424
Huldy St, Houston, Texas 77019 - Shepherd-Huldy Development I, LLC • 9201 Memorial Dr, Houston, Texas
77024 - 9201 Memorial Dr. LLC, a WY LLC • 2727 Kirby 26L, Houston, Texas 77098 - 2727 Kirby 26L LLC, a
Texas LLC • 402 Terrace Dr, Houston, Texas 77007 - Memorial Glen Cove, LLC • 207 Malone St, Houston, Texas
77007 - Memorial Glen Cove, LLC • 5803 Blossom St, Houston, Texas 77007 - Memorial Glen Cove, LLC • 6531
Rodrigo St, Houston, Texas 77007 - Memorial Glen Cove, LLC • 8050 Westheimer Rd, Houston, Texas 77063 –
Texas REIT, LLC • 8098 Westheimer Rd, Houston, Texas 77063 – Texas REIT, LLC
2
  ECF No. 1.
3
  ECF No. 26.
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         The Movants state that expungement is required as the pleadings do not contain a real

property claim, there is no probable validity of a real property claim, and that they did not receive

copies of the notices of lis pendens.

                                              LEGAL ANALYSIS

         The parties agree that Section 12.0071 entitled Motion to Expunge Lis Pendens of the

Texas Property Code applies.4 The parties also agree that subparagraph C is mandatory if any of

the three circumstances apply. As set forth in Sections 12.0071(a), (c) and (e), the Court does not

need to hear evidence, can review the pleadings, and any affidavits, or other exhibits on the docket

to review and to make a ruling.

         The Court must expunge if the pleading on which the notice is based does not contain a

real property claim.5 The Southern District of Texas has noted that there is a slight difference in

Texas law as to which pleading, the original or the live pleading at the time of the lis pendens

controls for this factor.6 As the supplemental notices of lis pendens were filed on August 23, 2023,

the pleading at issue here is the complaint.7 The parties agree and tailor their arguments to the

complaint. The Movants claim that the complaint does not assert an award of title, or a direct

interest in the real property; and therefore a lis pendens is not justified. The Respondents disagree,

arguing that the real properties at issue are the heart of their claims as it is the transfer of these real


4
  Texas. Property Code 12.0071 states in pertinent part as follows:
(a) A party to an action in connection with which a notice of lis pendens has been filed may: (1) apply to the court to
expunge the notice; and (2) file evidence, including declarations, with the motion to expunge the notice.
(b) The court may: (1) permit evidence on the motion to be received in the form of oral testimony; and (2) make any
orders the court considers just to provide for discovery by a party affected by the motion.
(c) The court shall order the notice of lis pendens expunged if the court determines that: (1) the pleading on which
the notice is based does not contain a real property claim; (2) the claimant fails to establish by a preponderance of
the evidence the probable validity of the real property claim; or (3) the person who filed the notice for record did not
serve a copy of the notice on each party entitled to a copy under Section 12.007(d).
(e) The court shall rule on the motion for expunction based on the affidavits and counter affidavits on file and on any
other proof the court allows.
5
  Tex. Prop. Code 12.0071(c)(1).
6
  Pelletier Mgmt. & Consulting, LLC v. InterBank, No. 6:21-CV-00022, 2022 WL 614917 (S.D. Tex. Mar 2, 2022).
7
  ECF No. 1.
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properties that they are claiming is fraudulent. The Plaintiffs further distinguish Movants’ cases

stating they both concerned lis pendens on subsequent real property that was purchased from

proceeds from a sale of the real property at issue. Instead, they point to In re Cohen,8 which states

that real property claims sufficient to support a notice of lis pendens are those claims that request

that real property liens and title transfers be set aside and that a constructive trust be placed on the

properties that were fraudulently transferred, which is akin to what this suit claims. The Court

finds that the complaint contains a real property claim.

        The second factor under Section 12.0071(c) is whether the claimant fails to establish by a

preponderance of the evidence the probable validity of the real property claim. The Movants

merely claim that this is not their burden, but the Plaintiffs, and the Plaintiffs cannot prove fraud.

The Plaintiffs assert that they can show a probable right to recovery on the fraudulent transfer

claim as they have alleged a theory of fraudulent transfer that includes several badges of fraud.

The purpose of the Texas Uniform Fraudulent Transfer Act (“TUFTA”) is to “prevent fraudulent

transfer of property by a debtor who intends to defraud creditors by placing assets beyond their

reach.”9 The case law in the Response, the Texas Kidney case, also examines fraudulent transfers

under TUFTA and looks to the badges of fraud, which the response also asserts. The Plaintiffs

argue that the transfers of the real property without adequate compensation raises a presumption

of fraudulent intent that establishes a prima facie case. The Court agrees and finds that there is a

probable validity of a real property claim.

        Lastly, the Court looks to whether or not the Movants received the notices of the lis

pendens. The Movants merely assert that they did not receive the notices. There was no affidavit



8
 In re Cohen, 340 S.W. 3d 889 (Tex. App. -. Houston [1st Dist.] 2011.
9
 Tex. Kidney, Inc. v. ASD Specialty Healthcare, No. 14-13-01106-CV, 2014 WL 3002425 (Tex. App. – Houston
[14th Dist.] July 1, 2014, no pet.) internal citations omitted.
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in support of that conclusory statement. The Plaintiffs did provide an affidavit along with several

letters and proof of mailing.10 Therefore, the Court concludes that Defendants did receive copies

of the lis pendens.

           ACCORDINGLY, IT IS ORDERED that the Motion to Expunge Notices of Lis Pendens

and Supplemental Notices of Lis Pendens is denied.

                    SIGNED 10/25/2023


                                                    ___________________________________
                                                    Jeffrey Norman
                                                    United States Bankruptcy Judge




10
     ECF No. 92-11 through 92-15.
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